   Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 1 of 27 PageID: 1
2018ROO574/DCS



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA             :    Hon. Cathy L. Waldor
                                      :
                 v.                   :    Magistrate. No. 20-9451 (CLW)
                                      :
 MARIA BELL,                          :
  a/k/a “Maria Sue Bell”              :    CRIMINAL COMPLAINT


       I, Matthew Hohmann, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:

                             SEE ATTACHMENT A
       I further state that I am a Special Agent with the Federal Bureau of

Investigation, and that this complaint is based on the following facts:

                             SEE ATTACHMENT B

continued on the attached pages and made a part hereof.


                                            ________by phone ________________
                                            Matthew Hohmann, Special Agent
                                            Federal Bureau of Investigation
Sworn to before me, and
subscribed to in my presence

November 24, 2020 at
Newark, New Jersey

HONORABLE                                    __S/CATHY L. WALDOR _____
UNITED STATES MAGISTRATE JUDGE              Signature of Judicial Officer
   Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 2 of 27 PageID: 2
2018ROO574/DCS



                                 ATTACHMENT A

                                 Count One
         (Concealment of Terrorist Financing to a Designated Foreign
                          Terrorist Organization)

     From in or about February 2018 through November 2018, in Morris
County, in the District of New Jersey, and elsewhere, defendant


                                 MARIA BELL,
                             a/k/a “Maria Sue Bell,”


did knowingly conceal or disguise the nature, location, source, ownership, or
control of material support or resources, or any funds or proceeds of such
funds, knowing or intending that the support or resources were provided to a
designated foreign terrorist organization, that is, the al-Nusra Front (“ANF”)
and Jabhat al-Nusra, also known by other aliases including Hay’at Tahrir al-
Sham (“HTS”), in violation of section 2339B of this title.




       In violation of Title 18, United States Code, Section 2339C(c)(2)(A).
     Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 3 of 27 PageID: 3




                                    ATTACHMENT B

      I, Matthew Hohmann am a Special Agent with the Federal Bureau of
Investigation (“FBI”) and have been since in or about 2010. I am currently
assigned to the Joint Terrorism Task Force (“JTTF”) and have worked on
investigations relating to international terrorism and violent extremists since
becoming a Special Agent. My experience as a Special Agent has included the
investigation of cases involving the use of computers and the Internet to
commit terrorism-related offenses. I have received training and have gained
experience in interview and interrogation techniques, arrest procedures,
obtaining electronically-stored information through criminal process, search
warrant applications, and the execution of searches and seizures. I have also
received training and information, and gained experience concerning terrorism
crimes, as well as the tactics, techniques, and procedures used by terrorism
suspects to evade detection. I am fully familiar with the facts set forth herein
based upon my personal knowledge and observation, my training and
experience, conversations with other law enforcement officers and witnesses,
and the review of documents and records. Because this complaint is being
submitted for the limited purpose of establishing probable cause, I have not
included each and every fact known to me concerning this investigation.
Rather, I have set forth only those facts that I believe are necessary to establish
probable cause that Bell concealed the provision of material support or
resources to a designated foreign terrorist organization in violation of Title 18,
United States Code 2339C. Unless specifically indicated, all conversations and
statements described in this affidavit are related in substance and in part.
Dates of events in this affidavit are asserted as having occurred on or about the
asserted date.

    The Designated Foreign Terrorist Organization: The al-Nusrah Front and
                            Hay’at Tahrir al-Sham

      1.     On or about May 30, 2018, the United States Secretary of State
amended the designations of an existing Foreign Terrorist Organization (“FTO”)
and Specially Designated Global Terrorist (“SDGT”), the al-Nusrah Front
(“ANF”), also known as Jabhat al-Nusrah, to include Hay’at Tahrir al-Sham
(“HTS”) and other aliases. ANF was included as an FTO and SDGT since at
least December 11, 2012 1. At all times relevant to this complaint, ANF was
designated as an FTO.



1 The United States Secretary of State designated al-Nusrah Front (ANF), also known as Jabhat
al-Nusrah, also known as Jabhet al-Nusra, Jabhat fatah al-sham, also known as The Victory
Front, also known as Al-Nusrah Front for the People of the Levant, also known as Al-Nusrah
Front in Lebanon, also known as Support Front for the People of the Levant, and also known
as Jabaht al-Nusra li-Ahl al-Sham min Mujahedi al-Sham fi Sahat al-Jihadb as an FTO under


                                             2
    Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 4 of 27 PageID: 4




      2.     These aliases were added to ANF’s designations as a FTO under
Section 219 of the Immigration and Nationality Act, and as a SDGT under
Executive Order 13224 2. In January 2017, ANF had launched the creation of
HTS as a vehicle to advance its position in the Syrian uprising and to further
its own goals as an Al-Qaeda 3 (“AQ”) affiliate. Since January 2017, ANF has
continued to operate through HTS in pursuit of these objectives. To date, HTS
remains a designated FTO.

        3.     HTS operates in Northwest Syria, primarily in Idlib Province, where
it is fighting the Syrian regime and its allies. HTS members have a historical
relationship with another Syria-based group, Hurras al-Din (“HAD”). HAD,
which operates within HTS-controlled Idlib Province, is comprised of AQ
veterans in Syria and is dedicated to conducting attacks against the United
States and other western nations.

       4.     In addition, HTS has a relationship with another militant group
operating in Syria, Ahrar al-Sham (AAS). Since 2015 AAS has maintained a
longstanding military partnership with HTS to fight against the Syrian regime,
though the two groups differ on their long-term goals in Syria. More
specifically, AAS only seeks to establish an Islamic State within Syria while
HTS and other AQ-aligned groups seek to pursue global jihad. Despite joint
efforts against Syrian regime forces, AAS and HTS have consistently fought one
another over territory and border crossings in recent years. AAS presents itself
as a moderate alternative to HTS in northwest Syria and now fights on behalf of
the Turkish-backed National Liberation Front (“NLF”), a coalition formed in
2018 by other regime opposition groups in an attempt to counter HTS control.
NLF and HTS reached an agreement earlier this year in which NLF agreed to
recognize the HTS-backed administration in northwest Syria in exchange for
joint operations. The groups have been fighting together against regime forces
since then.

      5.     To gain supporters, HTS, like many other terrorist organizations,
spreads its message using social media, Internet platforms, and email. Using
these platforms, HTS has disseminated a wide variety of recruiting materials


Section 219 of the Immigration and Nationality Act and as a SDGT under section 1(b) of
Executive Order 13224.
2“Amendments to the Terrorist Designations of al-Nusrah Front”
https://www.state.gov/amendments-to-the-terrorist-designations-of-al-nusrah-front/.
3 Al Qaeda(“AQ”) has been designated by the Secretary of State as a FTO And SDGT since
October 8, 1999, and has the following aliases to the FTO listing: “the Base,” the Islamic Army,
the World Islamic Front for Jihad Against Jews and Crusaders, the Islamic Army for the
Liberation of the Holy Places, the Usama Bin Laden Network, the Usama Bin Laden
Organization, Islamic Salvation Foundation, and The Group for the Preservation of the Holy
Sites. To date, AQ remains a designated FTO.


                                               3
   Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 5 of 27 PageID: 5




and propaganda through social media, which includes photographs and videos
depicting HTS activities, as well as audio and video lectures by members of
HTS and members of other Islamic extremist organizations.

       6.    HTS is currently led by Abu Mohammad al-Jolani (“Jolani”), the
founder of ANF. According to open source information, Jolani was a close
associate of Abu Musab al-Zarqawi, the former leader of al-Qa’ida in Iraq who
was killed in a US airstrike in 2006. In 2008, US forces arrested Jolani and
detained him in Camp Bucca in Southern Iraq. Following his release in 2008,
Jolani worked alongside Abu Bakr al-Baghdadi, the then-head of al-Qa’ida in
Iraq, before branching off to form ANF in early 2012. 4

                                         Overview

        7.    Defendant Maria Bell, a.k.a. “Maria Sue Bell” (“Bell”) is a 53 year-
old resident of New Jersey. At all relevant times in this Complaint, Bell was a
citizen of the United States. Beginning at least as early as February of 2017,
Bell, operating in and around Hopatcong, New Jersey, used mobile
applications, including but not limited to Encrypted Applications and Social
Media, to communicate with and provide advice to HTS members and to
facilitate money transfers to HTS. Bell also used the Encrypted Applications
and Social Media to provide other information which could support acts of
terrorism by HTS. For example, Bell provided guidance to HTS members on
matters of operational security, communications, firearms purchases, and
other information, often citing her professional experience, including her
specialized military training on guns while in active duty in the United States
Army, as well her background in the Army National Guard. 5 Further this
investigation shows that between in or about February 2017 and November
2018, Bell regularly used Encrypted Applications and Social Media to
communicate with one HTS member with whom Bell had an on-line
relationship. It shows that Bell provided this HTS Member advice on the
purchase of a weapon and ammunition, planned to meet him in Turkey, and
sent money to him via intermediaries using Western Union, (subsequent to
providing him advice on the purchase of weapons and ammunition). Further
the investigation shows that User 1 is an HTS fighter located in Syria.




5 Bell was in the Army National Guard from on or about November 9, 1984 through on or about

June 23, 1985 and on Army Active Duty from on or about June 24, 1985 through January 31,
1986. Bell received an Other Than Honorable (OTH) Discharge deemed Good for Service in lieu
of a Court Martial. OTH discharges can be accepted in-lieu of court-martial proceedings at the
service-member's request. Persons facing OTH are guaranteed, by the Uniform Code of Military
Justice, the right to have their discharge heard by an administrative discharge board, which is
similar to a court-martial but is not a public forum.



                                              4
   Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 6 of 27 PageID: 6




       8.    Below this affidavit delineates evidence of: (A) Bell’s use of an
encrypted application to communicate with this HTS fighter; (B) Bell’s use of
one social media account to communicate with this HTS fighter and three other
individuals; (C) Bell’s plan to meet with this HTS fighter in Turkey; and (D)
Bell’s transfer of money to intermediaries who received funds on behalf of this
HTS fighter.

        A. Bell’s Use of an Encrypted Application (Encrypted Application 1)
           to Communicate with HTS Fighter (User 1)

       9.    Based on my involvement in this investigation, conversations with
other law enforcement officers, and review of FBI reports, I have learned that
Bell used mobile applications, including but not limited to Encrypted
Applications, to communicate with members of HTS and other individuals
fighting in Syria against the Syrian regime. In those communications Bell,
among other things, disseminated guidance, including but not limited to
guidance concerning operational security issues, firearms purchases, and
military knowledge to foreign fighters and HTS members. Additionally, Bell
used mobile applications, including Encrypted Applications, to discuss
concealing the nature, location, and ownership of payments by using
intermediaries to receive financial support for HTS.

       10.    As set forth in greater detail below, Bell often communicated over
a particular Encrypted Application,"Application-1", which allows users to send
and receive messages referred to as "chats," which are private communications
amongst their participants. Bell used Application-1 to communicate with
numerous apparent HTS supporters. In these chats Bell revealed her allegiance
to HTS, provided counsel on operational and strategic issues and discussed
details of payments she transmitted to an HTS member.

       11. One HTS member with whom Bell communicated frequently with
on Application-1, and transferred money to, was User 1. There were thousands
of chats between Bell and User 1 on Application 1 between February 2017 and
November 23, 2018. Based on my training and experience, including the
review of the content of these chats, it is clear that Bell supported HTS. It is
also clear that Bell believed that User 1 was a member of HTS, had an on-line
relationship with him, planned to meet him in Turkey, provided him advice on
weapons and ammunition, and provided him money. Further, the investigation
shows that User 1 is an HTS fighter located in Syria. Eights chats between Bell
and User 1, as well as additional evidence that establishes his identity, is
provided below. 6


6 Some portions of chats described herein occurred in Arabic; an asterisk denotes all portions translated

from Arabic into English. The descriptions and/or translations of these chats are based on preliminary



                                                    5
    Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 7 of 27 PageID: 7




      12. First, on February 20, 2017, Bell used Application-1 to
communicate with User 1. This communication evidences that Bell (a) believed
User 1 had pledged to HTS; (b) planned to visit him in Syria; and (c)
encouraged him to fight in Syria. It also shows that User 1 is ready to fight in
Syria against Assad’s regime.

               Bell:          Think beyond the immediate battles. What happens
                              when these battles end?

               User 1:        Aleo was in the west of the city of Aleppo battles

               Bell:          Right now we think of friends who are fighting. It
                              might be Allah's will that they die or survive.

               User 1:        Yes

               Bell:          But once all the battles stop, think about life at that
                              point. This is where I am thinking.

               Bell:          How do I protect you then?

               Bell:          This is why speaking to Abu 7 is extremely important
                              now.

               User 1:        Right

               Bell:          So please help me reach him.

               User 1:        But I did not accept Abu Now think about how Ardjao
                              control of Aleppo




English translations and summaries. Because these translations and summaries are partial and
preliminary, they are subject to revision

7 Based on my training and experience, I believe that the use of “Abu al Abd” is a reference to
Abu al-Abd Ashidaa, who joined HTS at its formation and was responsible for “leading
defensive forces in the countryside of Aleppo,” according to an interview between Abu al-Abd
Ashidaa and political analyst Ayemenn Jawad Al-Tamimi conducted in April 2020.
Furthermore, a review of Bell’s Social Media Account -2 indicated multiple messages
referencing “Abu al-abd,” with one message from April 7, 2017 to an identified user saying
“Support HTS. U need Abu al-abd Ashada 2 lead rebels into peace. Has pragmatism, grace. Pls
make a deal.” Ashidaa left HTS in September 2019 after HTS imprisoned him for publicly
speaking against the group. See: http://www.aymennjawad.org/2020/04/interview-with-abu-
al-abd-ashidaa



                                                 6
Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 8 of 27 PageID: 8




         Bell:      Abdussamad has received my messages in his
                    Facebook account. But I cannot tell if he has read
                    them.

         Bell:      You did accept Abu. You pledged to HTS.

         User 1:    Responding to enter Aleppo again

         User 1:    do you understand what IAM saying

         Bell:      Yes, I know. I can only read about half the news
                    because I cannot translate it all.

         Bell:      Your face is known because of [identified person]. And
                    your age make you a target.

         Bell:      [Bell quoted User 1 message] “Abdullah 2: do you
                    understand what IAM saying” Tell me your thoughts
                    please"

         User 1:    The Mujahideen are planning directing themselves to
                    fight the battles in Aleppo👍👍👍👍

         Bell:      I understand. And you wish to join them again...

         User 1:     what do you want

         User 1:    ?

         Bell:      I am trying to very hard to save you.

         Bell:      My bigger fear is not your death but the uncertainty of
                    what life will be like after the war ends.

         Bell:      You ask what I want. I know what I want, it is a matter
                    of what Allah allows me to have.

         User 1:    Yes

         Bell:      If Assad wins, mujahideen will be persecuted again.

         User 1:    👍👍

         Bell:      If Assad wins, I cannot get a visa into Syria. I cannot
                    come to you.

         Bell:      That is my biggest fear. That I will be unable to save
                    you from arrest.

                                   7
  Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 9 of 27 PageID: 9




            User 1:      We do not defeat we win or die😍😍

            User 1:      �

            Bell:        I understand. I would rather see you die.

            Bell:        I will ask you two questions please....

            User 1:      God willing, we rely Ola power of Allah

            User 1:      ?

            Bell: 1.     Are you ready to fight in front line with other fighters?
                         You are no longer young child like you used to be.

            Bell:        It will be frightening. But I am with you.

            User 1:      Y8

            User 1:      Yes

            User 1:      I am ready

      Later in this same communication, Bell tells User 1 that he must tell Bell
“the day before you start to fight so I can be ready in my heart,” and that “you
have my blessing to go fight”. Bell further stated that “I know many military
things and medicine. Allah pushes me to help.”

      13. Second, on or about February 11, 2017, Bell used Application-1 to
communicate with User 1 about the situation in al-Bab. Al Bab is a northern
town in Syria that, in February 2017, was the site of fighting between ISIS and
pro-Syrian forces, as ISIS had occupied the town. This conversation evidences
that Bell believed that (1) HTS leaders were brave; (2) after al-Bab falls the U.S.
would target HTS; (3) User 1 was a member of HTS, and (4) due to his
involvement with HTS, User 1 was at high risk for arrest.

            Bell:       The leaders in HTS are the bravest men in Syria today.

            Bell:       We will hard times coming. After al-Bab falls, I believe
                        my government will target HTS. There are already
                        American drones flying over Idleb

            Bell:       So if we ever lose contact, you must believe we will find
                        each other again. I will not stop trying….

            User 1:     Yes



                                         8
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 10 of 27 PageID: 10




            Bell:      So you understand why I wish to help Abu? It is
                       important for me….I help them, I save you….

            Bell:      You are member of HTS. You are at high risk for arrest
                       soon.

            Bell:      You are safe now…. Hopefully politics change….and you
                       can stay safe….

      14. Third, on or about March 11, 2017, in an exchange with User 1 on
Application-1, Bell showed her support for HTS and User 1 by praising both
HTS fighters and User 1.

            Bell:       Did you wish to tell me something about HTS?

            User 1:     I love hts [emoji]

            Bell:       Yes, I know you do. These fighters are good men

            User 1:     Yes

            Bell:       They are brave and skilled

            User 1:     I am too..?

            Bell:      Yes, you are. You survived Aleppo. You now have the
                       chance for new skills.

       15. Fourth, on or about April 6, 2017, Bell in a communication
between Bell and User 1 on Application-1, after discussing U.S. support for the
Syrian regime, which HTS and other groups were fighting at the time, User 1
stated “we” will take revenge on the U.S. if the U.S. strikes airports in Syria.
The affiant notes that in early 2017 ISIS fighters had control over the airport in
Allepo, Syria and there was ongoing fighting backed by countries that
supported the Syrian regime to secure the airport. I interpret this as User 1’s
acknowledgement that he is part of a group that is fighting the regime, and
supports retaliation against an U.S. action against ISIS and rebel forces who
are fighting against the regime.



            User 1:    If you want to hit the Syrian airports, we will return to
                       revenge within New York

            Bell:      Do you realize what will happen to me?

            User 1:    😶😶


                                         9
  Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 11 of 27 PageID: 11




                Bell:          Think dear….. All of us who help Syria will be in danger.

                Bell:          I live very close to New York and I am connected on
                               Facebook to many revolutionaries.

                User 1:        👍👍

                Bell:          Now think… Would I be called to help of left to be jailed?

       16. Fifth, on or about August 6, 2018, in a communication between
Bell and User 1 on Application 1, Bell told User 1 that he had done one thing
he wished: “to rejoin HTS and be active again.” Bell then told User 1 that she
will pray he never fights but she will bless him if he does. In that same chat,
chat Bell told User 1 that she “like[d] that video” 8 and the “fight for our faith.”
This conversation shows that Bell believes User 1 had rejoined HTS and is an
active member of HTS. Further, based on my involvement in this investigation,
and my training and experience, I believe “fight for our faith” refers to the
resistance movement and jihad against the Assad government by rebel forces to
include HTS, and that Bell is articulating her support of this movement

       17. Sixth, on or about between August 16, 2018 and August 17, 2018,
Bell, on Application-1, provided User 1 with a link to an article written be an
American Journalist that discussed, among other things, HTS. The author
wrote regularly on the situation in Syria and on countering terrorism and
violent extremism, including HTS and other groups. Bell asked User 1 to block
access by American writers to fighters and faction leaders as they write articles
that influence public opinion. This conversation shows that Bell believed User
1 was part of and/or had direct access to HTS leadership, and that User 1 had
the ability to limit journalist’s interviews of HTS fighters.

                Bell:          https://warontherocks.com/2018/08/the-urgency-of-
                               idlib-the-impending-regime-offensive-and-the-delicate-
                               balance-in-syrias-northwest/

                Bell:          Dear one, you must listen please. Please pass this
                               article onward into HTS leadership. Although it is in
                               English, it is important that it is seen and the context of
                               the article understood.

                Bell:          I had asked you before to help block access by these
                               American writers. They interview fighters and faction
                               leaders to write these articles for American politicians.
                               They are influential on public opinion. The government
                               uses them to help spread propaganda about the factions

8 There is no further information on the content of the video that Bell references.



                                                    10
     Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 12 of 27 PageID: 12




                           so that the public will support the government in
                           attacking Islam.

               Bell:       This man is named Charles Lister. Ahrar has spoken to
                           him many times and he now writes that he speaks to
                           fighters in HTS.

               Bell:       This man is not a friend and HTS must not speak to
                           him. He is gathering information that will be used
                           against HTS. It is important in protecting Jolani that
                           trust is kept.

               Bell:       I cannot say enough how important it is not to allow
                           anyone to speak. This man now has mobile numbers
                           and names of men inside HTS.

                                    ……..

               User 1:     Where does this man live?*

      18. Seventh, on or about November 2, 2018, on Application-1, Bell and
User 1 discussed the leadership of HTS, with User 1 informing Bell that he met
with HTS leaders.

               User 1: Today met with leaders of Hts and Abu Al Abd 9 *

               Bell:     God bless our faith and our men

               Bell:     What came of the meeting dear? Are you happy?

               User 1: Yeah dear

               User 1: That they are indeed men there was some leaders we was
                        some leaders we were together in Aleppo, session was
                        good and we listened to the conditions of solving the
                        problems occurring with Al-Zinki 10*


9 As described more fully in Footnote 9, “Abu al Abd” is a reference to Abu al-Abd Ashidaa, who
joined HTS at its formation.

10 Based on my training and experience, I understand “Zinki” is a reference to Nour al-Din al-
Zinki, a Syrian rebel group based in west Aleppo that dissolved in 2019 following a defeat to
HTS. Sheikh Tawfiq Shihab al-Din, the leader of Nour al-Din al-Zinki until its 2019 dissolution,
detailed Nour al-Din al-Zinki’s rise and fall during an interview with political analyst Ayemenn
Jawad Al-Tamimi. According to al-Din, Nour al-Din al-Zinki joined HTS when “Jabhat al-Nusra
formed Hay’at Tahrir al-Sham” on the “foundational condition” the HTS should not fight other
factions or members of the Free Army. Nour al-Din al-Zinki separated from HTS after HTS


                                              11
  Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 13 of 27 PageID: 13




      19. Eighth, on or about November 3, 2018, on Application-1, Bell and
User -1 discussed an individual named Jolani. As delineated above in
paragraph 6, HTS is currently led by Abu Mohammad al-Jolani (“Jolani”), the
founder of ANF. This conversation evidences that Bell intends to help User-1
succeed with his responsibilities as a trusted man in ANF/HTS circles.

              Bell:       Good morning dear one.

              Bell:        I slept late and then had a long phone call. I
                           interviewed an important man in America who speaks
                           about Syria. He lived in Syria and attended university
                           there for a while. I will write an article about him and
                           publish it in social media.

              Bell:       I pray that a good solution to the problems with Zinki
                            can be found. Jolani needs cooperation and peace so he
                            can protect the people in the camps.

              Bell:       You are a trusted man now in their circles and I will help
                          you succeed with that responsibility.

      20. There is also evidence that User 1 is an active fighter in Syria that
includes the following:

       21. First, a 2016 video, produced by On the Ground News (“OGN)” in
Syria, reporting on the question of “who are the fighters of East Allepo.” This
video features a young man, identified by name as User 1, who identifies
himself as member of Ahrar al-Sham. In 2016, Ahrar al-Sham, knows as the
“Islamic Movement of the Free Men of the Levant”, was a militant group that
was fighting against the Assad Regime in Allepo. In this video User 1 explains
his tactics and strategy for fighting the Syrian Government, and also highlights
the difficulties of life in Allepo. He is shown actively fighting and firing a
weapon in this video.

      22. Second, a second 2016 video produced by OGN in which an OGN
reporter is reporting from Eastern Aleppo. He interviews the same individual,
who self identifies as User 1 by name, about fighting that has occurred in
Bustan al-Qasr, a city which, at the time, was the last crossing point between
the rebel and regime-held sides of Aleppo. In this video User 1 is in military




insisted on striking another Syrian rebel group, Ahrar al-Sham. HTS later defeated Nour al-Din
al-Zinki and absorbed its weapons, strongholds, and resources. Reference:
http://www.aymennjawad.org/2020/01/the-history-of-harakat-nour-al-din-al-zinki



                                             12
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 14 of 27 PageID: 14




uniform and discusses an attack by Syrian forces and notes that they (the anti-
regime fighters) retaliated by firing missiles.

      23. Third, open source information from a public Facebook profile page
of an account with the display name “Hassan Nasser Al-Hamoud” that
includes (1) a September 10, 2017 Facebook posting featuring a video of an
individual believed to be User-1in military style clothing and (2) a May 22, 2018
posting from this same account featuring the first OGN interview and video
described above. This information was a result of an FBI search of open source
information. The FBI believes that several users are using the “Hassan Nasser
Al-Hamoud” account, including User 1. The FBI discovered this account when
an individual believed to be User 1 commented on Bell’s FB profile picture. A
subpoena for subscriber information on this account has been issued.

      24. Fourth, an August 1, 2018 communication on Application 1, in
which User 1 provided Bell a scan of his photo identification which had the
name and a picture of User 1. This person in this photo identification matches
the individual in the OGN interview and the other photos referenced below.

       25. Fifth, multiple open source photos of an individual who self
identifies or is identified as User 1; and

       26. Sixth, numerous photos of User 1 that that Bell received on
Application-1. The FBI has analyzed all of these items and assesses that they
are all pictures or videos of the same person, User 1.

      27. In summation, the messages between Bell and User 1, as well as
the other information above establishes that Bell supported HTS, believed that
User 1 was a member of HTS. Further the messages, as well as the
information detailed above, establish the status of User 1 as an HTS member
and fighter.

B. Bell’s Social Media Communications on Social Media Account 1 with
User 1 and other HTS members

      28. Search warrants, subpoenas, and other traditional investigative
methods used in this investigation have revealed that Bell also used two social
media accounts (“Social Media Account 1” and “Social Media Account 2”) to
communicate with HTS members, pronounce her support for HTS’s extremist
ideology, and facilitate financial payments to HTS. Moreover, this investigation
shows that Bell also communicated with User 1 on Social Media Account 1.
Provided below is a communication between Bell and User 1 on Social Media
Account 1 that occurred on or about March 18, 2017. In this communication
Bell provided advice to User 1 regarding the purchase of a firearm and
ammunition for User 1. More specifically, Bell and User 1 discussed the cost
and type of weapon that would be good for User 1 and sent to each other
photos of six different weapons. This conversation indicates that Bell is
                                       13
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 15 of 27 PageID: 15




intending to provide finances for a weapon for User 1, but is concerned about
the cost of the weapon User 1 will buy, with Bell stating that one of the guns “is
very expensive and remember my limits on money. Half must be saved for new
house.” The following are messages and screen shots of these communication
between Bell and User 1 on Social Media 1:

             Bell:    I know that you can shoot well. But there are many
                      aspects to gun care to make sure you are safe.

            Bell:     So let us decide what kind of gun. Ok?

            User 1: There are many

            User 1: Kalashnikov [emoji]




            Bell:     Pick your 3 favourites and then we select. In America, it is
                      legal to keep guns at home so I know much about them.

            User 1:




                                       14
Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 16 of 27 PageID: 16




          User 1: 1000$

          User 1:




          Bell:     That is very expensive and remember my limits on
                    money. Half must be saved for new house.

          User 1:   Yes

          User 1:




                                   15
Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 17 of 27 PageID: 17




          User 1:   700$

          User 1:




          User-1: 600



                                   16
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 18 of 27 PageID: 18




In the same Social Media Account 1 chat thread, Bell begins to talk about
ammunition:

            Bell: The big part of the decision now is about ammunition.

            Bell: If these guns are readily available then 7.62 rounds are also
                  available.

            Bell: I will ask you to check on getting ammunition for smaller
                  weapons. Handguns instead of this.

            Bell: The rounds are small compared to that of the larger gun.

            Bell: There are 4 sizes, measured in millimeters. 9, .45, .357, .40

Later in the Social Media Account 1 chat thread, Bell asks if User 1 can find
out about prices for handguns:

            Bell: Can you find out prices in handgun?

            User-1:




            User 1: 2000$ [emoji]

                                       17
Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 19 of 27 PageID: 19




          User 1: American Made

          Bell: That is price of new one.

          Bell: Let send you a photo

          User 1: Ok

          User 1:




          User 1: 600$

          User 1: Russian-made

          Bell:




                                     18
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 20 of 27 PageID: 20




            Bell: Something like this.

            Bell: These are cheaper. Remember, we have a savings plan too.

            Bell: This where discipline about money and how it is spent is
                  important.

               C. BELL’s PLANS TO MEET USER 1 IN TURKEY

       29. In addition to the above, Bell’s chats, as well as her attempted
travel to Turkey, indicate that Bell intended to travel to Turkey in November
2018 to meet with User 1. These chats included the chats referenced in
paragraphs 11 –18 above, as well as the following chats.

     30.   On or about November 20, 2018, Bell and User 1 discussed her
upcoming planned travel to Turkey on Application 1.

            User 1:            Don't worry, my dear. We will pay together if we
                               can get a house




                                         19
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 21 of 27 PageID: 21




           Bell:            Sometimes I am lost because I feel lonely here.
                            Life is hard in Syria but you have al-Julani and
                            most people hate him here. It is hard to feel
                            alone. I wish I can tell him a lot of things. I feel
                            as if I am suffocated because I cannot say those
                            words

           Bell:             �

           User 1:          Yeah dear

           User 1:          I understand your situation but don't worry

           User 1:          If I succeed to cross into Turkey this time, it will
                            be a good opportunity

           Bell:            I pray that is so dear. I expect to arrive Saturday
                            at dusk.

     31. On or about November 21 and 22, 2018, Bell and User 1 have a
second chat on Application-1 regarding potentially meeting in Turkey.



           User 1:          My dear, I told you my condition before. You
                            never meet any of my relatives. (translated from
                            Arabic)

           User 1:          Dear, I've told you before, and now you never
                            meet with my relatives

           Bell:            My dear, stop worrying. This trip is exhausting
                            enough. I love you very much but it is hard for
                            me to accept how you direct my life. I am an
                            independent woman in America. If I was not the
                            woman I am, I wouldn't be able to support you.
                            (translated from Arabic?)

           Bell:            I don't want to say it but I have my own program
                            in Istanbul. I am there for writing after all. There
                            is a guide from Doha who thinks that I am a
                            very good journalist (translated from Arabic?
                            ARABIC)

           Bell:            I am happy that we are one but I feel sorry that
                            you cannot trust me more. You suffocated me.
                                    20
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 22 of 27 PageID: 22




                              You have a family and you will never understand
                              how painful you make life for me. I need a family
                              too. (ARABIC)

            Bell:             Good night dear. I hope we have a better day
                              tomorrow.

            User 1:           My dear, your words hurt me. You are accusing
                              me of mistrust (ARABIC)

            User 1:           I will stop my trip (ARABIC)

            User 1:           Do what you see good for you 😔😔 (ARABIC)

            User 1:           However, my dear, don't forget and I always tell
                              you that we both are like number one and you
                              know that I love you. (ARABIC)

            Bell:             Dearest one, you misunderstand me but I
                              cannot correct that. You brought me to Islam
                              and introduced me to a place and people where I
                              am peaceful and happy.

            Bell:             Then you deny me speaking to anyone and I
                              rarely see Syria now. Perhaps you did not
                              understand how painful this denial has been. I
                              need what you have and being alone hurts me.

            Bell:             I have learned to adjust to the isolation but it is
                              too hard some days. Yesterday was one of those
                              days and I said what I did out of the pain.

            Bell:             If you choose not to come to a Turkey because I
                              upset you, think about the upset you brought to
                              my family life here. I have put you ahead of my
                              own needs and have endangered my finances to
                              assist you.

            Bell:             But you are much loved by me, we are one.

     32. Moreover, Bell did attempt to travel to Turkey in November 2018.
More specifically, on or about November 23, 2018, Special Agents of the FBI
made contact with Maria Bell at a New York City Airport. After being made
aware of the identities of the agents, Bell agreed to be interviewed. Bell
admitted that she was planning to travel to Turkey on that date, and provided

                                      21
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 23 of 27 PageID: 23




an airline ticket showing an airline ticket departing New York City and arriving
in Istanbul, Turkey on November 24, 201, before denied boarding any flight.

      33. More recently, Bell made round trip travel reservations to depart
from a New York City Airport on a flight to Istanbul, Turkey on or about
November 25, 2020, which she cancelled on or about November 23, 2020.

                    D. Bell Provides Financial Support to HTS

       34. Based on my involvement in this investigation, including my
communications with other FBI personnel, review of search warrant returns,
review of chats on Application-1 and Social Media Account 1 between Bell and
User 1, and review of records received from Western Union (“WU”), I am aware
that Bell knowingly wired money to individuals located in Turkey and Syria
who I believe to be supporters of HTS, often at the direction of User 1. More
specifically, a review of WU Account records used by Bell revealed that Bell
sent at least 18 payments totaling approximately $3,150 to several WU
accounts used by User 1 or his associates. Three examples of chats between
Bell and User 1 concerning his need for money follow.

       35. First, on or about February 19, 2017, Bell and User 1
communicated on Application-1 regarding User 1’s need for money, as well as
Bell’s use of an intermediary, Hassan, to transfer money from Bell to User 1.

            User 1:             But I do I need money👎👎

            Bell:               I know. Did you tell Hassan I will send you
                                money?

            Bell:               I will send it to him and he will send it to you.

            User 1:             Yes

            Bell:               Okay, good. Then I will contact him.

            User 1:             but how

            User 1:             do not tell anyone

            Bell:               Let me ask. How did he send you the money I
                                left for you?

            User 1:             I do not understand what you mean

            User 1:             [unknown message]


                                        22
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 24 of 27 PageID: 24




            Bell:             Hassan sent you money that I have to him in
                              Istanbul. How did he get it to you?

            User 1:           I got the money

            Bell:             Yes, I know. how did he get it to you?

            User 1:           Gets what

            User 1:           You mean to send money to the Syrian territory

            Bell:             I cannot send money to Syria.

            User 1:           Send money from Istanbul to Aleppo is very
                              easy.

            Bell:             I must send to Turkey. Then Hassan send to
                              you.

       36. Second, as discussed earlier, on or about March 19, 2017, in a
communication between Bell and User 1 on Social Media Account 1 Bell
provided advice to User 1 regarding the purchase of a firearms and
ammunition for User 1. More specifically, in this conversation Bell and User 1
discussed the cost and type of weapon and ammunition that would be good for
User 1, sent photos to each other of six different weapons, and discussed their
price. This conversation indicates that Bell was intending to provide finances
for a weapon for User 1, but was concerned about the cost of the weapon User
1 will buy, with Bell stating that one of the guns “is very expensive and
remember my limits on money. Half must be saved for new house.”

      37.    On or about November 20, 2018, Bell communicated with User 1
on Application-1. In this communication, User 1 requests Bell to send him
$500.00. This evidences that that Bell and User 1 had agreed that User 1’s
brother would be an intermediary for payments.

            User 1:           My dear, you have to send the money today to
                              my sister-in-law

            Bell:             I do not feel comfortable sending. We agreed to
                              your brother only. This photo does not look like
                              her.

            Bell:             I am happy to send you money but I do not like
                              feeling anxious all the time.

            Bell:             I love you so I am unhappy about this all.

                                      23
  Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 25 of 27 PageID: 25




                         User 1:                                     I do not understand

                         User 1:                                     My dear, I told you before that the refugee is
                                                                     allowed to receive only two or three money
                                                                     orders. We send it to my sisterr-in-law this time
                                                                     and in the coming days , we send it to my
                                                                     brother

                         User 1:                                     My dear, I will leave it up to you to choose, you
                                                                     can send it to my brother if you want or you can
                                                                     send it to my sister-in-law ARABIC

                         User 1:                                     Send me the money today, $500

       38. For the period between approximately February 2018 through
November 2018, a WU Account (“Bell WU Account) was used to send at least
18 payments totaling approximately $3,150 to a specific WU account used by
and individual believed to be the brother of User 1, based in part of the name of
the WU recipient matching the name of the brother of User 1, Application-1
chats between Bell and User 1 that describe User 1’s brother by name as the
recipient of WU funds, and a chat from User 1 to Bell on Application-1 that
attached a file containing a photo ID of User 1’s brother. More specifically,
subpoena returns identified the user of the sending account for these 18
payments as: Maria Bell, phone number 973-670-[REDACTED], address
[REDACTED], Hopatcong, New Jersey 07843. The phone number and address
in subpoena returns matches law enforcement records on Bell’s phone number
and address. Furthermore, the email address associated with the payer
account also resolved to Maria Bell. A chart of these transfers follows.
Payer Name Payer Phone            Payer Email              Payer Address      City   State Zip Country   Payee Name     Pmt Send Date Currency $ Amount
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1    11/21/2018     USD    $   200.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     11/7/2018     USD    $   200.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     11/1/2018     USD    $   200.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1    10/22/2018     USD    $   125.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     10/5/2018     USD    $   125.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     8/5/2018      USD    $   200.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     7/22/2018     USD    $   125.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     7/13/2018     USD    $   300.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     6/29/2018     USD    $   125.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     6/23/2018     USD    $   125.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     6/13/2018     USD    $   175.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     5/18/2018     USD    $   150.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     4/22/2018     USD    $   100.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     4/13/2018     USD    $   100.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     4/6/2018      USD    $   150.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     3/1/2018      USD    $   300.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     2/21/2018     USD    $   300.00
MARIA BELL    -9286      Google Subscriber: "Maria Bell"    REDACTED1      HOPATCONG NJ 07843    US       Associate 1     2/8/2018      USD    $   150.00

                                                                                                                                      Total   $   3,150.00



      39. Additionally, the Bell WU account was used to send numerous
other payments to accounts controlled by associates of User 1, with funds
being received in Turkey or Syria. Notably, there were two primary payee phone
numbers – that is, phone numbers provided by WU recipients – that received

                                                                                     24
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 26 of 27 PageID: 26




approximately 30 payments between on or about November 11, 2017 and on or
about November 22, 2018. The payee phone number corresponding to the
above 18 payments matched the payee phone number used in at least 5 other
payments sent through the Bell WU Account, where a different name was
provided by a recipient. Based on my training, experience, and involvement in
this investigation, I believe that Bell was sending payments to User 1 through
associates to conceal the intended recipient from U.S. law enforcement.

      40.          This investigation shows that the recipient of these transfer
was the brother of User 1. That evidence includes chats which indicate that
Bell and User 1 had agreed that she send the money to his brother, and WU
records that identify User 1’s brother as the recipient of those transfers.

      41. Further, Bell expressed concern that her transfers could be
tracked by U.S. law enforcement. On or about September 15, 2018, Bell used
Application-1 to communicate with User 1 regarding her money transfers:




           Redacted




           Redacted




                                       25
 Case 2:20-mj-09451-CLW Document 1 Filed 11/24/20 Page 27 of 27 PageID: 27




       42. Based on my training and experience, and my involvement in this
investigation, I believe that what Bell communicated above is that she intended
to send User 1 additional funds via the Bell WU Account, and that in doing so
she would not draw any more scrutiny to the Bell WU Account than it was
already receiving from Western Union, as Bell believed that Western Union was
already working with the government to track individuals who provide funding
to foreign terrorist organizations.

      43. Based on my training and experience, I also know that terrorist
organizations use various methods, including sending money via
intermediaries in order to avoid detection and mask the fact that the funds are
being sent to assist Foreign Terrorist Organizations. As such, I believe Bell is
referencing the risk in providing money to the aforementioned Users.

      44.    Based on the above, I believe that there is probable cause that Bell
concealed the provision of material support and resource to the al-Nusra Front
(“ANF”) and Jabhat al-Nusra, also known by other aliased including Hay’at
Tahrir al-Sham (“HTS”). Specifically, there is probable cause that Bell
knowingly provided the financial support, including but not limited the above-
described money transfers to User 1 through User 1 associates, in efforts to
conceal the source and nature of the funds. Finally, based on my training and
experience, and involvement in this investigation, I believe that Bell sent money
to User 1 knowing that at least some of these funds would be used to purchase
firearms for HTS.




                                       26
